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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )             CASE NO. 8:07CR98
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                    ORDER
                                             )
ROLAND K. LONG,                              )
                                             )
             Defendant.                      )

      This matter is before the Court on the Defendant’s pro se motion to reduce his

sentence (Filing No. 71) and the Defendant’s motion, filed through counsel, to reduce his

sentence (Filing No. 84). The motions were heard on October 6, 2008, and both motions

are denied for the reasons stated on the record.

      IT IS ORDERED:

      1.     The Defendant’s motion to reduce his sentence (Filing No. 71) is denied; and

      2.     The Defendant’s motion to reduce his sentence (Filing No. 84) is denied.

      DATED this 6th day of October, 2008.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
